      Case 2:17-bk-55803                     Doc 44       Filed 07/11/19 Entered 07/11/19 20:57:36                                 Desc Main
 Fill in this information to identify the case:           Document     Page 1 of 6
 Debtor 1              Steven L. Hartsock
                       __________________________________________________________________


 Debtor 2               Michelle L. Hartsock
                        ________________________________________________________________
 (Spouse, if filing)

                                         Southern
 United States Bankruptcy Court for the: ______________________              Ohio
                                                                District of __________
                                                                             (State)
 Case number             2:17-bk-55803
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

                               Chalet Properties III, LLC
 Name of creditor: _______________________________________                                                           4
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                           5 ____
                                                         ____ 0 ____
                                                                  1 ____
                                                                       6                 Must be at least 21 days after date       08   01   2019
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          1,029.93
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
          No
          Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             462.83
                   Current escrow payment: $ _______________                           New escrow payment:           485.93
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
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                                                                  Document     Page 2 of 6

Debtor 1         Steven L. Hartsock
                 _______________________________________________________                                                2:17-bk-55803
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.

     
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 _____________________________________________________________
  /s/ Michelle R. Ghidotti-Gonsalves
     Signature
                                                                                                Date    07 11 2019
                                                                                                        ____/_____/________




 Print:             Michelle R. Ghidotti-Gonsalves
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger, LLP
                    _________________________________________________________



 Address            1920 Old Tustin Ave
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            mghidotti@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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   NEW PAYMENT EFFECTIVE 08/01/2019                  $1,029.93
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                                   Document     Page 4 of 6




        __________   __________   __________   __________
             $0.00    $6,275.66        $0.00    $5,831.24




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   .

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   .
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 1   Michelle R. Ghidotti-Gonsalves, Esq. (SBN 27180)
     GHIDOTTI | BERGER
 2   1920 Old Tustin Ave.
 3   Santa Ana, CA 92705
     Ph: (949) 427-2010
 4   Fax: (949) 427-2732
     mghidotti@ghidottiberger.com
 5
 6   Attorney for Creditor
     Chalet Properties III, LLC
 7
                           UNITED STATES BANKRUPTCY COURT
 8                    SOUTHERN DISTRICT OF OHIO– COLUMBUS DIVISION
 9   In Re:                                       )           CASE NO.: 2:17-bk-55803
                                                  )
10
     Steven L. Hartsock and Michelle L. Hartsock, )           CHAPTER 13
11         Debtors.                               )
                                                  )           CERTIFICATE OF SERVICE
12                                                )
                                                  )
13
                                                  )
14                                                )
                                                  )
15                                                )
                                                  )
16
                                                  )
17
18                                    CERTIFICATE OF SERVICE
19
20            I am employed in the County of Orange, State of California. I am over the age of

21   eighteen and not a party to the within action. My business address is: 1920 Old Tustin
22   Avenue, Santa Ana, CA 92705.
23
              I am readily familiar with the business’s practice for collection and processing of
24
     correspondence for mailing with the United States Postal Service; such correspondence would
25
26   be deposited with the United States Postal Service the same day of deposit in the ordinary

27   course of business.
28   On July 11, 2019 I served the following documents described as:

                    NOTICE OF MORTGAGE PAYMENT CHANGE

                                                      1
                                       CERTIFICATE OF SERVICE
 Case 2:17-bk-55803         Doc 44    Filed 07/11/19 Entered 07/11/19 20:57:36             Desc Main
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 1
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
 2
 3   envelope addressed as follows:

 4   (Via United States Mail)
     Debtor                                              Debtor’s Counsel
 5   Steven L. Hartsock                                  Kenneth L Sheppard, Jr
 6   1882 Blacklick Road, N.W.                           Sheppard Law Offices, Co., L.P.A.
     Baltimore, OH 43105                                 3535 Fishinger Blvd.
 7                                                       Suite 190
     Joint Debtor                                        Hilliard, OH 43026
 8
     Michelle L. Hartsock
 9   1882 Blacklick Road, N.W.                           U.S. Trustee
     Baltimore, OH 43105                                 Asst US Trustee (Col)
10                                                       Office of the US Trustee
     Chapter 13 Trustee                                  170 North High Street
11
     Faye D. English                                     Suite 200
12   Chapter 13 Trustee                                  Columbus, OH 43215
     10 West Broad Street
13   Suite 900
14   Columbus, OH 43215-3449

15   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
     the United States Postal Service by placing them for collection and mailing on that date
16   following ordinary business practices.
17
     ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
18   Eastern District of California
19   __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
20   America that the foregoing is true and correct.

21          Executed on July 11, 2019 at Santa Ana, California
22   /s / Lauren Simonton
23   Lauren Simonton

24
25
26
27
28




                                                     2
                                      CERTIFICATE OF SERVICE
